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                                                                         ACCO,APPEAL,CLOSED,JURY
                                                                                         Email All Attys
                                                                   Email All Attys and Secondary Emails
                   US District Court Electronic Case Filing System
                               District of Utah (Central)
                  CIVIL DOCKET FOR CASE #: 2:24−cv−00344−RJS

  Arnstein et al v. Sundance Holdings Group, L.L.C.              Date Filed: 05/14/2024
  Assigned to: Judge Robert J. Shelby                            Date Terminated: 05/05/2025
  Demand: $5,000,000                                             Jury Demand: Plaintiff
  Cause: 28:1332 Diversity                                       Nature of Suit: 190 Contract: Other
                                                                 Jurisdiction: Diversity
  Plaintiff
  Shannon Arnstein                                represented by Elliot Jackson
                                                                 HEDIN LLP
                                                                 1395 BRICKELL AVE STE 1140
                                                                 MIAMI, FL 33131
                                                                 305−357−2107
                                                                 Email: ejackson@hedinllp.com
                                                                 PRO HAC VICE
                                                                 ATTORNEY TO BE NOTICED
                                                                 Bar Number:
                                                                 Bar Status: Pro Hac Vice

                                                                 Frank Hedin
                                                                 HEDIN LLP
                                                                 1395 BRICKELL AVE STE 610
                                                                 MIAMI, FL 33131
                                                                 305−357−2107
                                                                 Email: fhedin@hedinllp.com
                                                                 PRO HAC VICE
                                                                 ATTORNEY TO BE NOTICED
                                                                 Bar Number:
                                                                 Bar Status: Pro Hac Vice

                                                                 David W. Scofield
                                                                 PETERS SCOFIELD
                                                                 7430 CREEK RD STE 303
                                                                 SALT LAKE CITY, UT 84093−6160
                                                                 (801)322−2002
                                                                 Email: dws@psplawyers.com
                                                                 ATTORNEY TO BE NOTICED
                                                                 Bar Number: 4140
                                                                 Bar Status: Active

  Plaintiff
  Dana Bassett                                    represented by Elliot Jackson
                                                                 (See above for address)
                                                                 PRO HAC VICE

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                                                                ATTORNEY TO BE NOTICED
                                                                Bar Number:
                                                                Bar Status: Pro Hac Vice

                                                                Frank Hedin
                                                                (See above for address)
                                                                PRO HAC VICE
                                                                ATTORNEY TO BE NOTICED
                                                                Bar Number:
                                                                Bar Status: Pro Hac Vice

                                                                David W. Scofield
                                                                (See above for address)
                                                                ATTORNEY TO BE NOTICED
                                                                Bar Number: 4140
                                                                Bar Status: Active

  Plaintiff
  Debra Macklin                                  represented by Elliot Jackson
                                                                (See above for address)
                                                                PRO HAC VICE
                                                                ATTORNEY TO BE NOTICED
                                                                Bar Number:
                                                                Bar Status: Pro Hac Vice

                                                                Frank Hedin
                                                                (See above for address)
                                                                PRO HAC VICE
                                                                ATTORNEY TO BE NOTICED
                                                                Bar Number:
                                                                Bar Status: Pro Hac Vice

                                                                David W. Scofield
                                                                (See above for address)
                                                                ATTORNEY TO BE NOTICED
                                                                Bar Number: 4140
                                                                Bar Status: Active

  Plaintiff
  Elizabeth Wuebker                              represented by Elliot Jackson
  individually and on behalf of all others                      (See above for address)
  similarly situated                                            PRO HAC VICE
                                                                ATTORNEY TO BE NOTICED
                                                                Bar Number:
                                                                Bar Status: Pro Hac Vice

                                                                Frank Hedin
                                                                (See above for address)
                                                                PRO HAC VICE
                                                                ATTORNEY TO BE NOTICED
                                                                Bar Number:


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                                         36

                                                        Bar Status: Pro Hac Vice

                                                        David W. Scofield
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED
                                                        Bar Number: 4140
                                                        Bar Status: Active

  Plaintiff
  Martika Gartman                        represented by Elliot Jackson
                                                        (See above for address)
                                                        PRO HAC VICE
                                                        ATTORNEY TO BE NOTICED
                                                        Bar Number:
                                                        Bar Status: Pro Hac Vice

                                                        Frank Hedin
                                                        (See above for address)
                                                        PRO HAC VICE
                                                        ATTORNEY TO BE NOTICED
                                                        Bar Number:
                                                        Bar Status: Pro Hac Vice

                                                        David W. Scofield
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED
                                                        Bar Number: 4140
                                                        Bar Status: Active

  Plaintiff
  Suellen Hendrix                        represented by Elliot Jackson
                                                        (See above for address)
                                                        PRO HAC VICE
                                                        ATTORNEY TO BE NOTICED
                                                        Bar Number:
                                                        Bar Status: Pro Hac Vice

                                                        Frank Hedin
                                                        (See above for address)
                                                        PRO HAC VICE
                                                        ATTORNEY TO BE NOTICED
                                                        Bar Number:
                                                        Bar Status: Pro Hac Vice

                                                        David W. Scofield
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED
                                                        Bar Number: 4140
                                                        Bar Status: Active

  Plaintiff


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  Jeanine Mark                           represented by Elliot Jackson
                                                        (See above for address)
                                                        PRO HAC VICE
                                                        ATTORNEY TO BE NOTICED
                                                        Bar Number:
                                                        Bar Status: Pro Hac Vice

                                                        Frank Hedin
                                                        (See above for address)
                                                        PRO HAC VICE
                                                        ATTORNEY TO BE NOTICED
                                                        Bar Number:
                                                        Bar Status: Pro Hac Vice

                                                        David W. Scofield
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED
                                                        Bar Number: 4140
                                                        Bar Status: Active

  Plaintiff
  Michelle Meinhold                      represented by Elliot Jackson
                                                        (See above for address)
                                                        PRO HAC VICE
                                                        ATTORNEY TO BE NOTICED
                                                        Bar Number:
                                                        Bar Status: Pro Hac Vice

                                                        Frank Hedin
                                                        (See above for address)
                                                        PRO HAC VICE
                                                        ATTORNEY TO BE NOTICED
                                                        Bar Number:
                                                        Bar Status: Pro Hac Vice

                                                        David W. Scofield
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED
                                                        Bar Number: 4140
                                                        Bar Status: Active

  Plaintiff
  Marie Michels                          represented by Elliot Jackson
                                                        (See above for address)
                                                        PRO HAC VICE
                                                        ATTORNEY TO BE NOTICED
                                                        Bar Number:
                                                        Bar Status: Pro Hac Vice

                                                        Frank Hedin
                                                        (See above for address)


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                                                        PRO HAC VICE
                                                        ATTORNEY TO BE NOTICED
                                                        Bar Number:
                                                        Bar Status: Pro Hac Vice

                                                        David W. Scofield
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED
                                                        Bar Number: 4140
                                                        Bar Status: Active

  Plaintiff
  Jilli Oyenque                          represented by Elliot Jackson
                                                        (See above for address)
                                                        PRO HAC VICE
                                                        ATTORNEY TO BE NOTICED
                                                        Bar Number:
                                                        Bar Status: Pro Hac Vice

                                                        Frank Hedin
                                                        (See above for address)
                                                        PRO HAC VICE
                                                        ATTORNEY TO BE NOTICED
                                                        Bar Number:
                                                        Bar Status: Pro Hac Vice

                                                        David W. Scofield
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED
                                                        Bar Number: 4140
                                                        Bar Status: Active

  Plaintiff
  Barbara Porter                         represented by Elliot Jackson
                                                        (See above for address)
                                                        PRO HAC VICE
                                                        ATTORNEY TO BE NOTICED
                                                        Bar Number:
                                                        Bar Status: Pro Hac Vice

                                                        Frank Hedin
                                                        (See above for address)
                                                        PRO HAC VICE
                                                        ATTORNEY TO BE NOTICED
                                                        Bar Number:
                                                        Bar Status: Pro Hac Vice

                                                        David W. Scofield
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED
                                                        Bar Number: 4140


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                                                36

                                                                Bar Status: Active


  V.
  Defendant
  Sundance Holdings Group, L.L.C.                represented by Jordan K. Cameron
                                                                CAMERON RINGWOOD LC
                                                                6975 UNION PARK AVE STE 600
                                                                COTTONWOOD HEIGHTS, UT 84047
                                                                801−845−0087
                                                                Email: jordan@cameronringwood.com
                                                                LEAD ATTORNEY
                                                                ATTORNEY TO BE NOTICED
                                                                Bar Number:
                                                                Bar Status: Active

                                                                Elizabeth Rinehart
                                                                VENABLE LLP
                                                                750 E PRATT ST STE 900
                                                                BALTIMORE, MD 21202
                                                                410−528−4646
                                                                Email: lcrinehart@venable.com
                                                                PRO HAC VICE
                                                                ATTORNEY TO BE NOTICED
                                                                Bar Number:
                                                                Bar Status: Pro Hac Vice


   Date Filed   #    Docket Text
   05/14/2024    1   COMPLAINT (Class Action) against Sundance Holdings Group, L.L.C. (Filing fee $
                     405, receipt number AUTDC−5062169) filed by Elizabeth Wuebker, Shannon
                     Arnstein, Debra Macklin, Dana Bassett. (Attachments: # 1 Exhibit A − Sundance
                     Catalog Mailing List, # 2 Exhibit B − The Information Marketplace, # 3 Exhibit C −
                     Web's Hot New Commodity−− Privacy, # 4 Exhibit D − Remarks of Pamela Jones
                     Harbour to FTC Exploring Privacy Roundtable Washington D.C. (December 7, 2009),
                     # 5 Errata E − Martha C. White, Big Data Knows What You're Doing Right Now,
                     Economics & Policy (July 31, 2012), # 6 Exhibit F − Natasha Singer, You for Sale.
                     Mapping, and Sharing, the Consumer Genome, New York Times (June 16, 2012), # 7
                     Exhibit G − Letter from Senator John D. Rockefeller IV to Scoitt E. Howe, October 9,
                     2012, # 8 Exhibit H − Senator Ed Markey Press Release− Bipartisan Lawmakers
                     Query Data Brokers About Practices re Consumers' Personal Info (July 24, 2012), # 9
                     Exhibit I − FTC Consumer Information−− Fake Prize, Sweepstakes, and Lottery
                     Scams, # 10 Exhibit J − Charles Duhigg, Bilking the Elderly, With a Corporate Assist,
                     New York Times (May 20, 2007), # 11 Exhibit K − FTC Prepared Statement Fraud
                     Against Seniors (August 10, 2000), # 12 Exhibit L − 2014 TRUSTe US Consumer
                     Confidence Privacy Report, # 13 Exhibit M − Joshua Brustein, Start−Ups Seek to Help
                     Users Put a Price on Their Personal Data, New York Times (February 12, 2012), # 14
                     Exhibit N − The Effect of Online Privacy Information of Purchasing Behavior, # 15
                     Exhibit O − Hann, Hui and Png, The Value of Online Info Privacy− an Empirical
                     Investigation, AEI−Brookings Joint Center for Regulatory Studies (October, 2003))


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                     (Scofield, David) (Entered: 05/14/2024)
   05/14/2024    2   Civil Cover Sheet (JS44) re 1 Complaint,,,,,,
                     Civil Summons may be issued electronically. Prepare the summons using the courts
                     PDF version and email it to utdecf_clerk@utd.uscourts.gov for issuance, filed by
                     Shannon Arnstein, Dana Bassett, Debra Macklin, Elizabeth Wuebker. (Scofield,
                     David) (Entered: 05/14/2024)
   05/14/2024    3   Requested Summons as to Sundance Holdings Group, L.L.C.. (Scofield, David)
                     (Entered: 05/14/2024)
   05/15/2024        Judge Robert J. Shelby added.

                     Case number will now read 2:24−cv−00344−RJS. Please make changes to document
                     captions accordingly. (sg) (Entered: 05/15/2024)
   05/15/2024    4   NOTICE OF REQUIREMENTS for appearance Pro Hac Vice mailed to attorney
                     Frank S. Hedin an Elliot O. Jackson for Shannon Arnstein, Dana Bassett, Debra
                     Macklin, Elizabeth Wuebker (sg) (Entered: 05/15/2024)
   05/15/2024    5   NOTICE OF MAGISTRATE JUDGE AVAILABILITY TO PRESIDE OVER CASE−
                     Under 28 U.S.C. 636(c), Fed. R. Civ. P. 73, and DUCivR 72−4, you are hereby
                     notified that a magistrate judge for the District of Utah may conduct any or all
                     proceedings in this case, including a jury or bench trial and entry of a final judgment.
                     Exercise of this jurisdiction by the magistrate judge is permitted only if all parties
                     voluntarily sign and return the form. To consent, return the Consent Form to the clerk's
                     office within 21 days via email at consents@utd.uscourts.gov or mail at the address on
                     the form. Please do not efile the Consent Form in the case. Notice emailed or mailed
                     to Plaintiffs Shannon Arnstein, Dana Bassett, Debra Macklin, Elizabeth Wuebker.
                     (Notice generated by Clerk's Office) Form due by 6/5/2024. (sg) (Entered:
                     05/15/2024)
   05/15/2024    6   Summons Issued Electronically as to Sundance Holdings Group, L.L.C..
                     Instructions to Counsel:
                     1. Click on the document number.
                     2. If you are prompted for an ECF login, enter your 'Attorney' login to CM/ECF.
                     3. Print the issued summons for service. (sg) (Entered: 05/15/2024)
   05/17/2024    7   SUMMONS Returned Executed by Elizabeth Wuebker, Shannon Arnstein, Debra
                     Macklin, Dana Bassett. Summons served on Sundance Holdings Group, L.L.C., on
                     05/16/2024. (Scofield, David) (Entered: 05/17/2024)
   06/04/2024    8   NOTICE of Appearance by Jordan K. Cameron on behalf of Sundance Holdings
                     Group, L.L.C. (Cameron, Jordan) (Entered: 06/04/2024)
   06/04/2024    9   STIPULATION MOTION for Extension of Time to File Answer re 1 Complaint,
                     extending deadline to respond by Sundance Holdings Group, L.L.C.. (Cameron,
                     Jordan) Modified by correcting motion event and text on 6/5/2024 (mh). (Entered:
                     06/04/2024)
   06/04/2024   10   MOTION for Admission Pro Hac Vice of Elliot O. Jackson , Registration fee $ 50,
                     receipt number AUTDC−5082656,

                     Attorneys awaiting Pro Hac Vice admission should immediately register to efile and
                     receive electronic notification of case activity in the District of Utah at


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                     https://www.pacer.uscourts.gov/cmecf/dcbk.html.
                     Registration requests will not be approved until the court has granted the pro hac vice
                     motion. Instructions are available on the court's website at
                     https://www.utd.uscourts.gov/cmecf−electronic−case−filing.

                     filed by Plaintiffs Shannon Arnstein, Dana Bassett, Debra Macklin, Elizabeth
                     Wuebker. (Attachments: # 1 Exhibit A−− E.O.Jackson Pro Hac Application, # 2 Text
                     of Proposed Order Exhibit B−− Pro Hac Vice Proposed Order −ej)(Scofield, David)
                     (Entered: 06/04/2024)
   06/05/2024   11   Modification of Docket re 9 MOTION: Error: Pleading filed under stipulation.
                     Correction: Motion event added and text corrected to, MOTION for Extension of Time
                     to File Answer. No further action needed. (mh) (Entered: 06/05/2024)
   06/05/2024   12   AMENDED COMPLAINT against Sundance Holdings Group, L.L.C. with Jury
                     Demand. filed by Elizabeth Wuebker, Shannon Arnstein, Debra Macklin, Dana
                     Bassett. (Attachments: # 1 Exhibit A − Sundance Catalog Mailing List, # 2 Exhibit B
                     − The Information Marketplace, # 3 Exhibit C − Web's Hot New Commodity−−
                     Privacy, # 4 Exhibit D − Remarks of Pamela Jones Harbour to FTC Exploring Privacy
                     Roundtable Washington D.C. (December 7, 2009), # 5 Exhibit E − Martha C. White,
                     Big Data Knows What You're Doing Right Now, Economics & Policy (July 31, 2012),
                     # 6 Exhibit F − Natasha Singer, You for Sale. Mapping, and Sharing, the Consumer
                     Genome, New York Times (June 16, 2012), # 7 Exhibit G − Letter from Senator John
                     D. Rockefeller IV to Scoitt E. Howe, October 9, 2012, # 8 Exhibit H − Senator Ed
                     Markey Press Release− Bipartisan Lawmakers Query Data Brokers About Practices re
                     Consumers' Personal Info (July 24, 2012), # 9 Exhibit I − FTC Consumer
                     Information−− Fake Prize, Sweepstakes, and Lottery Scams, # 10 Exhibit J − Charles
                     Duhigg, Bilking the Elderly, With a Corporate Assist, New York Times (May 20,
                     2007), # 11 Exhibit K − FTC Prepared Statement Fraud Against Seniors (August 10,
                     2000), # 12 Exhibit L − 2014 TRUSTe US Consumer Confidence Privacy Report, # 13
                     Exhibit M − Joshua Brustein, Start−Ups Seek to Help Users Put a Price on Their
                     Personal Data, New York Times (February 12, 2012), # 14 Exhibit N − The Effect of
                     Online Privacy Information of Purchasing Behavior, # 15 Exhibit O − Hann, Hui and
                     Png, The Value of Online Info Privacy− an Empirical Investigation, AEI−Brookings
                     Joint Center for Regulatory Studies (October, 2003)) (Scofield, David) (Entered:
                     06/05/2024)
   06/06/2024   13   ORDER REFERRING CASE to Magistrate Judge Daphne A. Oberg under 28:636
                     (b)(1)(A), Magistrate Judge to hear and determine all nondispositive pretrial matters.
                     No attached document. Signed by Judge Robert J. Shelby on 6/6/2024. (mjm)
                     (Entered: 06/06/2024)
   06/07/2024   14   ORDER TO PROPOSE SCHEDULE − See order for details. Signed by Magistrate
                     Judge Daphne A. Oberg on 06/07/2024. (sg) (Entered: 06/07/2024)
   06/10/2024   15   ORDER granting 9 Motion for Extension of Time to Answer. Defendant shall have up
                     to and including June 20, 2024 to respond to Plaintiffs' 12 Amended Complaint.
                     Signed by Judge Robert J. Shelby on 6/10/2024. (mh) (Entered: 06/10/2024)
   06/10/2024   16   ORDER granting 10 Motion for Admission Pro Hac Vice of Attorney Elliot O.
                     Jackson for Shannon Arnstein,Elliot O. Jackson for Dana Bassett,Elliot O. Jackson for
                     Martika Gartman,Elliot O. Jackson for Suellen Hendrix,Elliot O. Jackson for Debra
                     Macklin,Elliot O. Jackson for Jeanine Mark,Elliot O. Jackson for Michelle
                     Meinhold,Elliot O. Jackson for Marie Michels,Elliot O. Jackson for Jilli

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                                                 36


                     Oyenque,Elliot O. Jackson for Barbara Porter,Elliot O. Jackson for Elizabeth
                     Wuebker.

                     Attorneys admitted Pro Hac Vice must register to efile and receive electronic
                     notification of case activity in the District of Utah at
                     https://www.pacer.uscourts.gov/cmecf/dcbk.html. Instructions are available at
                     https://www.utd.uscourts.gov/cmecf−electronic−case−filing.A Pro Hac Vice Attorney
                     who fails to register for CM/ECF access will not receive notifications of electronic
                     filings.

                     Attorneys admitted Pro Hac Vice may download a copy of the District of Utahs local
                     rules from the courts web site at https://www.utd.uscourts.gov/rules−practice.

                     Signed by Judge Robert J. Shelby on 6/10/2024. (mh) (Entered: 06/10/2024)
   06/13/2024   17   Stipulated MOTION for Extension of Time to File Answer re 12 Amended
                     Complaint,,,,,, and Memorandum in Support filed by Defendant Sundance Holdings
                     Group, L.L.C.. Motions referred to Daphne A. Oberg.(Cameron, Jordan) (Entered:
                     06/13/2024)
   06/14/2024   18   DOCKET TEXT ORDER granting 17 Motion for Extension of Time to Answer.
                     Based on the parties' stipulation, Defendant's deadline to answer or otherwise respond
                     to the complaint is extended to July 5, 2024. Signed by Magistrate Judge Daphne A.
                     Oberg on 6/14/2024. No attached document. (gdr) (Entered: 06/14/2024)
   07/03/2024   19   Stipulated MOTION for Extension of Time to File Answer re 12 Amended
                     Complaint,,,,,, and Memorandum in Support filed by Defendant Sundance Holdings
                     Group, L.L.C.. Motions referred to Daphne A. Oberg.(Cameron, Jordan) (Entered:
                     07/03/2024)
   07/03/2024   20   DOCKET TEXT ORDER granting 19 Motion for Extension of Time to Answer.
                     Based on the parties' stipulation and for good cause shown, Defendant's deadline to
                     answer or otherwise respond to the 12 Amended Complaint is extended to July 19,
                     2024. Signed by Magistrate Judge Daphne A. Oberg on 7/3/2024. No attached
                     document. (gdr) (Entered: 07/03/2024)
   07/16/2024   21   MOTION for Admission Pro Hac Vice of Liz Clark Rinehart , Registration fee $ 50,
                     receipt number AUTDC−5125804,

                     Attorneys awaiting Pro Hac Vice admission should immediately register to efile and
                     receive electronic notification of case activity in the District of Utah at
                     https://www.pacer.uscourts.gov/cmecf/dcbk.html.
                     Registration requests will not be approved until the court has granted the pro hac vice
                     motion. Instructions are available on the court's website at
                     https://www.utd.uscourts.gov/cmecf−electronic−case−filing.

                     filed by Defendant Sundance Holdings Group, L.L.C.. (Attachments: # 1 Exhibit A −
                     Application for Pro Have Vice admission, # 2 Exhibit B − Propose Order)(Cameron,
                     Jordan) (Entered: 07/16/2024)
   07/17/2024   22   ORDER granting 21 Motion for Admission Pro Hac Vice of Attorney Liz Clark
                     Rinehart for Sundance Holdings Group, L.L.C..

                     Attorneys admitted Pro Hac Vice must register to efile and receive electronic

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                    notification of case activity in the District of Utah at
                    https://www.pacer.uscourts.gov/cmecf/dcbk.html. Instructions are available at
                    https://www.utd.uscourts.gov/cmecf−electronic−case−filing.A Pro Hac Vice Attorney
                    who fails to register for CM/ECF access will not receive notifications of electronic
                    filings.

                    Attorneys admitted Pro Hac Vice may download a copy of the District of Utahs local
                    rules from the courts web site at https://www.utd.uscourts.gov/rules−practice.

                    Signed by Judge Robert J. Shelby on 7/17/2024. (mh) (Entered: 07/17/2024)
  07/19/2024   23   MOTION to Dismiss for Lack of Jurisdiction and Memorandum in Support ,
                    MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM and Memorandum in
                    Support filed by Defendant Sundance Holdings Group, L.L.C.. (Cameron, Jordan)
                    (Entered: 07/19/2024)
  07/29/2024   24   Stipulated MOTION for Extension of Time to File Response/Reply Extension of Time
                    for Opposition Memorandum and Reply Memorandum re 23 Motion to Dismiss filed
                    by Plaintiffs Shannon Arnstein, Dana Bassett, Martika Gartman, Suellen Hendrix,
                    Debra Macklin, Jeanine Mark, Michelle Meinhold, Marie Michels, Jilli Oyenque,
                    Barbara Porter, Elizabeth Wuebker. (Attachments: # 1 Text of Proposed Order
                    Proposed Form of Order) Motions referred to Daphne A. Oberg.(Scofield, David)
                    Modified by correcting motion event and text on 7/30/2024 (mh). (Entered:
                    07/29/2024)
  07/30/2024   25   Modification of Docket re 24 MOTION: Error: Counsel filed pleading under motion
                    event, Motion for Extension of Time. Pleading request additional time to file
                    response/reply to 23 motion. Correction: Pleading motion event corrected to, Motion
                    for Extension of Time to File Response/Reply. No further action needed. (mh)
                    (Entered: 07/30/2024)
  07/30/2024   26   DOCKET TEXT ORDER granting 24 Stipulated Motion for Extension of Time to File
                    Response/Reply re 23 Motion to Dismiss for Lack of Jurisdiction, Motion to Dismiss
                    for Failure to State a Claim. Plaintiffs' response is due by 8/30/2024. Defendant's reply
                    is due by 9/13/2024. Signed by Magistrate Judge Daphne A. Oberg on 7/30/2024. No
                    attached document. (med) (Entered: 07/30/2024)
  08/28/2024   27   Stipulated MOTION for Extension of Time to File Response/Reply as to 23 MOTION
                    to Dismiss for Lack of Jurisdiction and Memorandum in Support MOTION TO
                    DISMISS FOR FAILURE TO STATE A CLAIM and Memorandum in Support filed
                    by Plaintiffs Shannon Arnstein, Dana Bassett, Martika Gartman, Suellen Hendrix,
                    Debra Macklin, Jeanine Mark, Michelle Meinhold, Marie Michels, Jilli Oyenque,
                    Barbara Porter, Elizabeth Wuebker. (Attachments: # 1 Text of Proposed Order
                    Proposed Form of Order) Motions referred to Daphne A. Oberg.(Scofield, David)
                    (Entered: 08/28/2024)
  08/29/2024   28   DOCKET TEXT ORDER granting 27 Motion for Extension of Time to File
                    Response/Reply. Based on the parties' stipulation, Plaintiffs' deadline to respond to the
                    23 Motion to Dismiss is extended to September 9, 2024, and Defendant's deadline to
                    file a reply in support of the 23 Motion to Dismiss is extended to September 20, 2024.
                    Signed by Magistrate Judge Daphne A. Oberg on 8/29/2024. No attached document.
                    (gdr) (Entered: 08/29/2024)
  09/09/2024   29


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                    Plaintiff's MEMORANDUM in Opposition re 23 MOTION to Dismiss for Lack of
                    Jurisdiction and Memorandum in Support MOTION TO DISMISS FOR FAILURE
                    TO STATE A CLAIM and Memorandum in Support filed by Plaintiffs Shannon
                    Arnstein, Dana Bassett, Martika Gartman, Suellen Hendrix, Debra Macklin, Jeanine
                    Mark, Michelle Meinhold, Marie Michels, Jilli Oyenque, Barbara Porter, Elizabeth
                    Wuebker. (Attachments: # 1 Exhibit A−− copy of Curry v Mrs Fields Gifts Inc, # 2
                    Exhibit B−− copy of Utah Senate Floor Debate)(Scofield, David) (Entered:
                    09/09/2024)
  09/11/2024   30   ERRATA to 29 Memorandum in Opposition to Motion,, filed by Plaintiffs Shannon
                    Arnstein, Dana Bassett, Martika Gartman, Suellen Hendrix, Debra Macklin, Jeanine
                    Mark, Michelle Meinhold, Marie Michels, Jilli Oyenque, Barbara Porter, Elizabeth
                    Wuebker . (Attachments: # 1 Errata Table of Contents for ECF No. 29)(Scofield,
                    David) (Entered: 09/11/2024)
  09/20/2024   31   REPLY to Response to Motion re 23 MOTION to Dismiss for Lack of Jurisdiction and
                    Memorandum in Support MOTION TO DISMISS FOR FAILURE TO STATE A
                    CLAIM and Memorandum in Support filed by Defendant Sundance Holdings Group,
                    L.L.C.. (Rinehart, Elizabeth) (Entered: 09/20/2024)
  09/30/2024   32   NOTICE OF HEARING ON MOTION re: 23 MOTION to Dismiss for Lack of
                    Jurisdiction and Memorandum in Support MOTION TO DISMISS FOR FAILURE
                    TO STATE A CLAIM and Memorandum in Support : (Notice generated by Mary Jane
                    McNamee) Motion Hearing set for 11/14/2024 at 01:30 PM in Rm 3.100 before Judge
                    Robert J. Shelby. (mjm) (Entered: 09/30/2024)
  11/07/2024   33   Plaintiff's MOTION for Admission Pro Hac Vice of Frank S. Hedin , Registration fee
                    $ 50, receipt number AUTDC−5237113,

                    Attorneys awaiting Pro Hac Vice admission should immediately register to efile and
                    receive electronic notification of case activity in the District of Utah at
                    https://www.pacer.uscourts.gov/cmecf/dcbk.html.
                    Registration requests will not be approved until the court has granted the pro hac vice
                    motion. Instructions are available on the court's website at
                    https://www.utd.uscourts.gov/cmecf−electronic−case−filing.

                    filed by Plaintiffs Shannon Arnstein, Dana Bassett, Martika Gartman, Suellen Hendrix,
                    Debra Macklin, Jeanine Mark, Michelle Meinhold, Marie Michels, Jilli Oyenque,
                    Barbara Porter, Elizabeth Wuebker. (Attachments: # 1 Exhibit Application of Frank S.
                    Hedin for Admission Pro Hac Vice, # 2 Text of Proposed Order Proposed Form of
                    Order)(Scofield, David) (Entered: 11/07/2024)
  11/08/2024   34   ORDER granting 33 Motion for Admission Pro Hac Vice of Attorney Frank Hedin for
                    Shannon Arnstein,Frank Hedin for Dana Bassett,Frank Hedin for Martika
                    Gartman,Frank Hedin for Suellen Hendrix,Frank Hedin for Debra Macklin,Frank
                    Hedin for Jeanine Mark,Frank Hedin for Michelle Meinhold,Frank Hedin for Marie
                    Michels,Frank Hedin for Jilli Oyenque,Frank Hedin for Barbara Porter,Frank Hedin
                    for Elizabeth Wuebker.

                    Attorneys admitted Pro Hac Vice must register to efile and receive electronic
                    notification of case activity in the District of Utah at
                    https://www.pacer.uscourts.gov/cmecf/dcbk.html. Instructions are available at
                    https://www.utd.uscourts.gov/cmecf−electronic−case−filing.A Pro Hac Vice Attorney


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                    who fails to register for CM/ECF access will not receive notifications of electronic
                    filings.

                    Attorneys admitted Pro Hac Vice may download a copy of the District of Utahs local
                    rules from the courts web site at https://www.utd.uscourts.gov/rules−practice.

                    Signed by Magistrate Judge Daphne A. Oberg on 11/8/2024. (mh) (Entered:
                    11/08/2024)
  11/14/2024   35   Minute Entry for proceedings held before Judge Robert J. Shelby: Motion Hearing
                    held on 11/14/2024 re 23 MOTION to Dismiss for Lack of Jurisdiction, MOTION TO
                    DISMISS FOR FAILURE TO STATE A CLAIM filed by Sundance Holdings Group,
                    L.L.C. Oral argument heard. Matter taken under advisement. Attorney for Plaintiff:
                    Frank Hedin, David Scofield, Attorney for Defendant: Elizabeth Rinehart, Jordan
                    Cameron. Court Reporter: Ed Young. Recording: Electronic.(mjm) (Entered:
                    11/14/2024)
  11/25/2024   36   MEMORANDUM DECISION AND ORDER − the Sundance's 23 Motion to Dismiss
                    is DENIED. Signed by Judge Robert J. Shelby on 11/25/2024. (mh) (Entered:
                    11/25/2024)
  11/25/2024   37   Corrected MEMORANDUM DECISION AND ORDER − Sundance's 23 Motion to
                    Dismiss is DENIED. Signed by Judge Robert J. Shelby on 11/25/2024. (mh) (Entered:
                    11/25/2024)
  12/04/2024   38   AO 435 TRANSCRIPT REQUEST ORDER FORM by Sundance Holdings Group,
                    L.L.C. for proceedings held on 11/14/2024 before Judge Robert J. Shelby.. (Rinehart,
                    Elizabeth) (Entered: 12/04/2024)
  12/09/2024   39   ANSWER to 12 Amended Complaint,,,,,, filed by Sundance Holdings Group,
                    L.L.C..(Rinehart, Elizabeth) (Entered: 12/09/2024)
  12/13/2024   40   First Amended ANSWER to Complaint filed by Sundance Holdings Group,
                    L.L.C..(Rinehart, Elizabeth) (Entered: 12/13/2024)
  12/13/2024   41   MOTION to Amend and Certify the Court's Order for Interlocutory Review re 37
                    Memorandum Decision and Memorandum in Support filed by Defendant Sundance
                    Holdings Group, L.L.C.. (Attachments: # 1 Exhibit A − Hearing Transcript, # 2 Text
                    of Proposed Order) Motions referred to Daphne A. Oberg.(Rinehart, Elizabeth)
                    (Entered: 12/13/2024)
  12/16/2024   42   Motions No Longer Referred: 41 Motion to Amend and Certify the Court's Order for
                    Interlocutory Review. Chief District Judge Robert J. Shelby will handle the motion.
                    (gdr) (Entered: 12/16/2024)
  12/27/2024   43   MEMORANDUM in Opposition re 41 MOTION to Amend and Certify the Court's
                    Order for Interlocutory Review re 37 Memorandum Decision and Memorandum in
                    Support filed by Plaintiffs Shannon Arnstein, Dana Bassett, Martika Gartman, Suellen
                    Hendrix, Debra Macklin, Jeanine Mark, Michelle Meinhold, Marie Michels, Jilli
                    Oyenque, Barbara Porter, Elizabeth Wuebker. (Hedin, Frank) (Entered: 12/27/2024)
  01/10/2025   44   REPLY to Response to Motion re 41 MOTION to Amend and Certify the Court's
                    Order for Interlocutory Review re 37 Memorandum Decision and Memorandum in
                    Support filed by Defendant Sundance Holdings Group, L.L.C.. (Rinehart, Elizabeth)
                    (Entered: 01/10/2025)


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  01/13/2025   45   ENTRY ERROR: REPORT OF ATTORNEY PLANNING MEETING. (Hedin,
                    Frank) Modified by striking entry and adding error text on 1/15/2025 (kpf). (Entered:
                    01/13/2025)
  01/14/2025   46   DOCKET TEXT ORDER. The parties filed their 45 Attorney Planning Meeting
                    Report, but they failed to file a Stipulated Motion for Scheduling Order as required by
                    paragraph 3.a of the 14 Order to Propose Schedule. The parties are ordered to file a
                    Motion for Scheduling Order by January 21, 2025. Signed by Magistrate Judge
                    Daphne A. Oberg on 1/14/2025. No attached document.(gdr) (Entered: 01/14/2025)
  01/14/2025   47   Stipulated MOTION for Scheduling Order filed by Plaintiffs Shannon Arnstein, Dana
                    Bassett, Martika Gartman, Suellen Hendrix, Debra Macklin, Jeanine Mark, Michelle
                    Meinhold, Marie Michels, Jilli Oyenque, Barbara Porter, Elizabeth Wuebker.
                    (Attachments: # 1 Exhibit Exhibit A − Attorney Planning Report, # 2 Text of Proposed
                    Order Exhibit B − Proposed Order) Motions referred to Daphne A. Oberg.(Hedin,
                    Frank) (Entered: 01/14/2025)
  01/15/2025   48   NOTICE OF DEFICIENCY re 45 Attorney Planning Meeting Report. The docket
                    entry has been stricken. The parties are required to file a Stipulated Motion for
                    Scheduling Order as required by paragraph 3.a of the 14 Order to Propose Schedule.
                    Motion has been filed. No further action needed. (kpf) (Entered: 01/15/2025)
  01/15/2025   49   DOCKET TEXT ORDER: The parties' 47 Motion for Scheduling Order and Attorney
                    Planning Meeting Report do not include all information required by DUCivR
                    23−1(c)(1). The parties are ordered to file a supplement to their motion within fourteen
                    days to include this information. Signed by Magistrate Judge Daphne A. Oberg on
                    1/15/2025. No attached document.(gdr) (Entered: 01/15/2025)
  01/24/2025   50   NOTICE of Supplement to Stipulated Motion by Shannon Arnstein, Dana Bassett,
                    Martika Gartman, Suellen Hendrix, Debra Macklin, Jeanine Mark, Michelle Meinhold,
                    Marie Michels, Jilli Oyenque, Barbara Porter, Elizabeth Wuebker (Hedin, Frank)
                    (Entered: 01/24/2025)
  01/27/2025   51   SCHEDULING ORDER granting 47 Motion for Scheduling Order. Amended
                    Pleadings due by 3/30/2025. Joinder of Parties due by 3/30/2025. Expert Discovery
                    due by 2/13/2026. Motions due by 4/15/2026. Signed by Magistrate Judge Daphne A.
                    Oberg on 1/27/2025. (mh) (Entered: 01/27/2025)
  01/27/2025   52   DISCOVERY MANAGEMENT ORDER − See order for details. Signed by
                    Magistrate Judge Daphne A. Oberg on 1/27/2025. (mh) (Entered: 01/27/2025)
  02/20/2025   53   MEMORANDUM DECISION AND ORDER denying 41 Motion to Amend and
                    Certify the Court's Order for Interlocutory Review. Signed by Judge Robert J. Shelby
                    on 2/19/2025. (mh) (Entered: 02/20/2025)
  03/28/2025   54   Second MOTION to Dismiss and Memorandum in Support filed by Defendant
                    Sundance Holdings Group, L.L.C.. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3
                    Text of Proposed Order)(Rinehart, Elizabeth) (Entered: 03/28/2025)
  03/28/2025   55   MOTION to Stay and Memorandum in Support filed by Defendant Sundance
                    Holdings Group, L.L.C.. (Attachments: # 1 Text of Proposed Order) Motions referred
                    to Daphne A. Oberg.(Rinehart, Elizabeth) (Entered: 03/28/2025)
  03/31/2025   56   Motions No Longer Referred: 55 MOTION to Stay. Chief District Judge Robert J.
                    Shelby will handle the motion. (gdr) (Entered: 03/31/2025)


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  04/08/2025   57   Stipulated MOTION for Extension of Time to File Response/Reply as to 55 MOTION
                    to Stay and Memorandum in Support filed by Plaintiffs Shannon Arnstein, Dana
                    Bassett, Martika Gartman, Suellen Hendrix, Debra Macklin, Jeanine Mark, Michelle
                    Meinhold, Marie Michels, Jilli Oyenque, Barbara Porter, Elizabeth Wuebker.
                    (Attachments: # 1 Text of Proposed Order Proposed Order Granting Motion for
                    Extension of Time to File Opposition to Motion to Stay (ECF No. 55)s<) Motions
                    referred to Daphne A. Oberg.(Scofield, David) (Entered: 04/08/2025)
  04/09/2025   58   DOCKET TEXT ORDER granting 57 Motion for Extension of Time to File Response.
                    Based on the parties' stipulation, the deadline for Plaintiffs to respond to Defendant's
                    55 Motion to Stay is extended to April 18, 2025. Signed by Magistrate Judge Daphne
                    A. Oberg on 4/9/2025. No attached document. (gdr) (Entered: 04/09/2025)
  04/18/2025   59   MEMORANDUM in Opposition re 55 MOTION to Stay and Memorandum in
                    Support filed by Plaintiffs Shannon Arnstein, Dana Bassett, Martika Gartman, Suellen
                    Hendrix, Debra Macklin, Jeanine Mark, Michelle Meinhold, Marie Michels, Jilli
                    Oyenque, Barbara Porter, Elizabeth Wuebker. (Jackson, Elliot) (Entered: 04/18/2025)
  04/26/2025   60   MEMORANDUM in Opposition re 54 Second MOTION to Dismiss and
                    Memorandum in Support filed by Plaintiffs Shannon Arnstein, Dana Bassett, Martika
                    Gartman, Suellen Hendrix, Debra Macklin, Jeanine Mark, Michelle Meinhold, Marie
                    Michels, Jilli Oyenque, Barbara Porter, Elizabeth Wuebker. (Attachments: # 1 Exhibit
                    A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F)(Hedin,
                    Frank) (Entered: 04/26/2025)
  05/02/2025   61   REPLY to Response to Motion re 55 MOTION to Stay and Memorandum in Support
                    filed by Defendant Sundance Holdings Group, L.L.C.. (Rinehart, Elizabeth) (Entered:
                    05/02/2025)
  05/05/2025   62   MEMORANDUM DECISION AND ORDER − Sundance's 54 Second Motion to
                    Dismiss is GRANTED, and Sundance's outstanding 55 Motion to Stay is DENIED AS
                    MOOT. Plaintiffs' Complaint is DISMISSED for lack of subject matter jurisdiction.
                    Signed by Judge Robert J. Shelby on 5/5/2025. (mh) (Entered: 05/05/2025)
  05/05/2025   63   JUDGMENT is entered in favor of Defendant. Magistrate Judge Daphne A. Oberg no
                    longer assigned to case. Case Closed. Signed by Judge Robert J. Shelby on 5/5/2025.
                    (mh) (Entered: 05/05/2025)
  05/05/2025   64   NOTICE OF APPEAL as to 62 Order on Motion to Dismiss,, Order on Motion to
                    Stay,, Memorandum Decision, 63 Judgment filed by Shannon Arnstein, Dana Bassett,
                    Martika Gartman, Suellen Hendrix, Debra Macklin, Jeanine Mark, Michelle Meinhold,
                    Marie Michels, Jilli Oyenque, Barbara Porter, Elizabeth Wuebker. Appeals to the
                    USCA for the 10th Circuit. Filing fee $ 605, receipt number AUTDC−5416924.
                    (Hedin, Frank) (Entered: 05/05/2025)




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                               IN THE UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF UTAH


     SHANNON ARNSTEIN, et al.,                                    MEMORANDUM DECISION AND
                                                                          ORDER
              Plaintiffs,
                                                                   Case No. 2:24-cv-00344-RJS-DAO
     v.
                                                                  Chief District Judge Robert J. Shelby
     SUNDANCE HOLDINGS GROUP, LLC,
                                                                  Magistrate Judge Daphne A. Oberg
              Defendant.


            Before the court is Defendant Sundance Holdings Group, LLC’s (Sundance’s) Second

 Motion to Dismiss. 1 Having reviewed the Motion and associated briefing, the court GRANTS

 Sundance’s Motion for lack of subject matter jurisdiction. 2

                                                BACKGROUND

            The following factual summary is taken from Plaintiffs’ First Amended Class Action

 Complaint. 3

            Sundance is a specialty retailer that sells a variety of clothing and other household

 products. 4 Since January 1, 2004, Sundance has advertised its products via physical catalogs and

 a website. 5 As part of its business operations, Plaintiffs allege Sundance maintains a vast digital

 database comprised of its customers’ names, home addresses, and purchase histories




 1
     Dkt. 54, Defendant’s Second Motion to Dismiss Plaintiffs’ Amended Complaint under Rule 12(b)(1) (Motion).
 2
   Under DUCivR 7-1(g), the court finds oral argument is unnecessary and resolves the Motion based on the parties’
 briefing.
 3
     Dkt. 12, First Amended Class Action Complaint (Complaint).
 4
     Complaint ¶ 64.
 5
     Id. ¶ 101.

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 (collectively, Private Purchase Information). 6 To supplement its revenues, Sundance allegedly

 shares this Private Purchase Information with data aggregators who then supplement the

 information with additional private information about each Sundance customer, including the

 customer’s gender, age, religion, and ethnicity. 7 This enhanced customer list adds value to

 Sundance’s original list. Ultimately, Sundance allegedly rents, sells, and discloses both the

 Private Purchase Information and the enhanced list to data aggregators, data cooperatives, list

 brokers, aggressive advertisers, direct-marketing companies, political organizations, non-profit

 companies, and other third parties without providing notice to its customers. 8

             Between 2004 and 2024, each named Plaintiff purchased products from Sundance by

 placing orders on Sundance’s website. 9 Plaintiffs claim Sundance completed the sales by

 shipping the products to each Plaintiff from a location within Utah. 10 Plaintiffs also allege

 Sundance failed to notify Plaintiffs that it would disclose Plaintiffs’ Private Purchase

 Information, and Plaintiffs never authorized Sundance to do so. 11 After completing these sales,

 Sundance allegedly shared Plaintiffs’ Private Purchase Information with various third parties for

 compensation. 12

             Plaintiffs initiated this proposed class action in May 2024, alleging Sundance violated

 Utah’s Notice of Intent to Sell Nonpublic Personal Information Act (NISNPIA). 13 In July 2024,




 6
     Id. ¶¶ 5, 95.
 7
     Id. ¶ 96.
 8
     Id. ¶¶ 1, 98.
 9
     Id. ¶¶ 9, 14, 19, 24, 29, 34, 39, 44, 49, 54, 59.
 10
      Id. ¶¶ 11, 16, 21, 26, 31, 36, 41, 46, 51, 56, 61.
 11
      Id. ¶¶ 10, 15, 20, 25, 30, 35, 40, 45, 50, 55, 60.
 12
      Id. ¶ 116.
 13
      Dkt. 1, Class Action Complaint.

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 Sundance filed a Motion to Dismiss pursuant to Federal Rules of Civil Procedure 12(b)(1) and

 12(b)(6), 14 which the court denied. 15 In its Memorandum Decision and Order denying

 Sundance’s Motion, the court found Plaintiffs had adequately stated a claim for relief under

 NISNPIA, and it concluded Rule 23 of the Federal Rules of Civil Procedure controlled over

 NISNIPIA’s class action bar under the Supreme Court’s framework articulated in the case of

 Shady Grove Orthopedic Associates, P.A. v. Allstate Insurance Company. 16 The primary reason

 for concluding NISNPIA’s class action bar had no effect in federal court was “the lack of any

 clear evidence suggesting [NISNPIA’s class action bar] define[d] the scope of NISNPIA’s rights

 or remedies,” as required by Shady Grove. 17

            But in March 2025, the Governor of Utah signed into law S.B. 150, which makes

 significant changes to NISNPIA’s text. 18 S.B. 150 is set to take effect on May 7, 2025. 19

 Sundance filed this Second Motion to Dismiss in March 2025, again challenging this court’s

 subject matter jurisdiction in light of the recent changes to NISNPIA. 20 The Motion is now ripe

 for review. 21




 14
      Dkt. 23, Defendant’s Motion to Dismiss First Amended Complaint [Doc 12] and Memorandum in Support at 1.
 15
      Dkt. 37, Memorandum Decision and Order.
 16
      559 U.S. 393 (2010) (hereafter Shady Grove).
  Arnstein v. Sundance Holdings Grp., LLC, No. 2:24-CV-00344-RJS-DAO, 2024 WL 4882857, at *9 (D. Utah
 17

 Nov. 25, 2024).
 18
      See Dkt. 54-1, Exhibit A: S.B. 150 (S.B. 150).
 19
      Id.
 20
      See Motion.
 21
      Id.; Dkt. 60, Plaintiffs’ Response in Opposition to Defendant’s Second Motion to Dismiss (Opposition).

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                                                LEGAL STANDARDS

             Rule 12(b)(1) motions to dismiss for lack of subject-matter jurisdiction take two forms:

 facial attacks and factual attacks. 22 A facial attack challenges the sufficiency of the complaint,

 while a factual attack presents additional evidence in the form of affidavits or otherwise to

 challenge the court’s jurisdiction. 23 In evaluating a facial attack, the court “must accept the

 factual allegations in the complaint as true,” 24 and “apply a standard patterned on Rule

 12(b)(6).” 25 When evaluating a factual attack, “a district court may not presume the truthfulness

 of the complaint’s factual allegations.” 26 Instead, “[a] court has wide discretion to allow

 affidavits, other documents, and a limited evidentiary hearing to resolve disputed jurisdictional

 facts under Rule 12(b)(1).” 27

                                                       ANALYSIS

             Sundance argues Federal Rule of Civil Procedure 23 must yield to the class action bar

 found in § 203(3) of NISNPIA in light of the Supreme Court’s decision in Shady Grove. 28 And

 Sundance argues application of § 203(3) deprives this court of subject matter jurisdiction over

 Plaintiff’s claims because, without a viable class action, Plaintiffs cannot meet the amount-in-

 controversy requirement to establish diversity jurisdiction under 28 U.S.C. § 1332(d). 29

 Plaintiffs, on the other hand, insist this court has subject matter jurisdiction pursuant to the Class



 22
      Laufer v. Looper, 22 F.4th 871, 875 (10th Cir. 2022).
 23
      Muscogee (Creek) Nation v. Okla. Tax. Comm’n, 611 F.3d 1222, 1227 n.1 (10th Cir. 2010).
 24
      Safe Streets All. v. Hickenlooper, 859 F.3d 865, 878 (10th Cir. 2017).
 25
      Garling v. EPA, 849 F.3d 1289, 1293 n.3 (10th Cir. 2017).
 26
    Rural Water Dist. 2 v. City of Glenpool, 698 F.3d 1270 n.1 (10th Cir. 2012) (citing Holt v. United States, 46 F.3d
 1000, 1003 (10th Cir.1995)).
 27
      Id. (citing Holt v. United States, 46 F.3d 1000, 1003 (10th Cir.1995)).
 28
      Motion at 2.
 29
      Id. at 2–3.

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 Action Fairness Act (CAFA) notwithstanding the amendments to NISNPIA because there are

 more than 100 class members, the matter in controversy exceeds the sum or value of $5,000,000,

 and minimum diversity among the parties exists. 30

            The court agrees with Sundance that the recent amendments to NISNPIA provide the

 court with the evidence necessary to conclude that, under the Supreme Court’s framework

 articulated in Shady Grove, applying of Rule 23 in this case would impermissibly abridge,

 enlarge, and modify Utah’s substantive rights and remedies in violation of the Enabling Act (28

 U.S.C. § 2072(b)). Accordingly, § 203(3) of NISNPIA applies in federal court and precludes

 Plaintiffs from maintaining their class action lawsuit. And without the ability to proceed as a

 class, Plaintiffs cannot satisfy the amount-in-controversy requirement necessary for this court to

 exercise diversity jurisdiction.

            The court proceeds by providing an overview of the recent amendments to NISNPIA, a

 summary of the Shady Grove framework and this court’s prior decisions on this subject, and an

 explanation about why the recently enacted version of NISNPIA provides the court with

 conclusive evidence that Plaintiffs’ class action lawsuit should be barred in federal court.

            I.       The Amendments to NISNPIA

            In its most basic sense, the operative version of NISNPIA prohibits a commercial entity

 from disclosing nonpublic personal information obtained as a result of a consumer transaction

 without providing written or oral notice to the consumer. 31 NISNPIA provides consumers with a

 private cause of action and imposes liability of $500 “for each time the commercial entity fails to

 provide the [required] notice . . . .” 32 However, § 203(3) of NISNPIA prohibits consumers from


 30
      Opposition at 2; 28 U.S.C. §§ 1332(d)(2), (5).
 31
      See Utah Code § 13-37 (2004).
 32
      Id. § 13-37-203(1)–(2) (2004).

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 suing as a class. The current version of NISNPIA, which was enacted in 2004, reads in relevant

 part:

            13-37-203 Liability.

            (1) A person may bring an action against a commercial entity in a court of competent
            jurisdiction in this state if: (a) the commercial entity enters into a consumer transaction
            with that person; (b) as a result of the consumer transaction described in Subsection
            (1)(a), the commercial entity obtains nonpublic personal information concerning that
            person; and (c) the commercial entity violates this chapter.

            (2) In an action brought under Subsection (1), a commercial entity that violates this
            chapter is liable to the person who brings the action for: (a) $500 for each time the
            commercial entity fails to provide the notice required by this section in relation to the
            nonpublic personal information of the person who brings the action; and (b) court costs.

            (3) A person may not bring a class action under this chapter. 33

            However, the Governor of Utah recently signed into law S.B. 150, which amends § 203

 of NISNPIA. The new version of § 203, which takes effect on May 7, 2025, reads as follows

 with the new provisions underlined:

            13-37-203 Liability and remedy.

            (1) As a person’s only remedy under this chapter, a person may bring an individual
            action, not a class action or act in a representative capacity, against a commercial entity
            in a federal or state court with jurisdiction if: (a) the commercial entity enters into a
            consumer transaction with that person; (b) as a result of the consumer transaction
            described in Subsection (1)(a), the commercial entity obtains nonpublic personal
            information concerning that person; and (c) the commercial entity violates this chapter.

            (2) In an action brought under Subsection (1), a commercial entity that violates this
            chapter is liable to the person individually, but not to a class or to a person in a
            representative capacity, who brings the action for: (a) $500 for each time the commercial
            entity fails to provide the notice required by this section in relation to the nonpublic
            personal information of the person who brings the action; and (b) court costs.

            (3) An action for a violation of this chapter may only be brought in accordance with
            Section 78B-2-302 within one year from the day of the consumer transaction at issue.



 33
      Id. § 13-37-203 (2004).

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            (4) The Legislature finds that since January 1, 2004, the prohibition on bringing a class
            action is a remedy provision and not merely procedural. 34

            II.      This Court’s Prior Decisions

            At issue here is whether Plaintiffs may avail themselves of the class action mechanism

 under Federal Rule of Civil Procedure 23 and establish diversity jurisdiction under CAFA when

 the 2004 version of § 203(3) precludes class actions altogether. The undersigned previously

 analyzed and reanalyzed arguments regarding the contest between Rule 23 and § 203(3) under

 the Shady Grove framework in this case and found Rule 23 controlled. 35 Another judge in this

 district addressed the same issue under the same framework and similarly found Rule 23

 controlled. 36 For context, the court provides a high-level overview of the Shady Grove

 framework and its analysis in its prior decisions.

            Shady Grove sets out the familiar, two-step framework enabling federal courts to

 determine which law controls “[w]hen both a federal rule and a state law appear to govern a

 question before a federal court sitting in diversity.” 37 The first step requires courts to determine

 whether the federal rule directly conflicts with the state law. 38 If there is no conflict, the court

 “engage[s] in the traditional Rules of Decision Act inquiry under [Erie Railroad Company v.

 Tompkins 39] and its progeny.” 40 If there is a conflict, the court proceeds to the second step and


 34
      S.B. 150 (emphasis added).
 35
    Specifically, the court issued two opinions that resolved a motion to dismiss and a motion for interlocutory appeal.
 See Case No. 2:24-cv-00344-RJS-DAO, 2024 WL 4882857 (D. Utah Nov. 25, 2024) (slip copy) (resolving the
 motion to dismiss); Case No. 2:24-cv-00344-RJS-DAO, 2025 WL 562543 (D. Utah Feb. 20, 2025) (slip copy)
 (resolving the motion for interlocutory appeal).
 36
      See Curry v. Mrs. Fields Gifts, Inc., No. 2:22-cv-00651-JNP-DBP, 2023 WL 6318108 (D. Utah Sept. 28, 2023).
 37
      Shady Grove, 559 U.S. at 421 (Stevens, J., concurring).
 38
    See Stender v. Archstone-Smith Operating Tr., 958 F.3d 938, 943 (10th Cir. 2020) (citing Shady Grove, 559 U.S.
 at 399 (plurality opinion)).
 39
      304 U.S. 64 (1938).
 40
      Shady Grove, 559 U.S. at 421 (Stevens, J., concurring).

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 must apply the federal rule as long as it represents a valid exercise of Congress’s rulemaking

 authority under the Rules Enabling Act by not abridging, enlarging, or modifying any

 substantive right. 41 The court refers to the two components of the framework as Step One and

 Step Two respectively.

            The parties previously disputed which of the Shady Grove opinions guide Step One. 42

 The Shady Grove decision was fragmented, with Justice Scalia writing for the plurality, Justice

 Stevens joining parts of the plurality opinion and in the holding but concurring separately, and

 four justices dissenting. 43 This split has created some confusion among federal courts regarding

 which parts of the Shady Grove opinion are controlling. 44 But it is well established that “[w]hen

 a fragmented Court decides a case and no single rationale explaining the result enjoys the assent

 of five Justices, ‘the holding of the Court may be viewed as that position taken by those

 Members who concurred in the judgments on the narrowest grounds.’” 45 In Shady Grove,

 Justice Stevens joined Parts I and II-A of Justice Scalia’s plurality opinion. 46 Because Part II-A

 addresses Step One, Justice Scalia’s opinion controls that part of the framework. The controlling




 41
      Id. at 422 (citing 28 U.S.C. § 2072(b)).
 42
      See Arnstein, 2024 WL 4882857, at *4; Arnstein, 2025 WL 562543, at *3.
 43
      Shady Grove, 559 U.S. 395–96 (plurality opinion).
 44
    See, e.g., Stender, 958 F.3d at 943, 947 (“This court has held that Justice Stevens’s concurrence states Supreme
 Court law under the rule stated in Marks v. United States, 430 U.S. 188, 193, 97 S.Ct. 990, 51 L.Ed.2d 260 (1977) . .
 . Others, including then-Judge Kavanaugh, think that the view of the plurality opinion governs on step two of the
 analysis because it merely restates law settled by Sibbach and no other Justice (including the dissenters) expressed
 agreement with the concurrence.” (first citing Los Lobos Renewable Power, LLC v. Americulture, Inc., 885 F.3d
 659, 668 n.3 (10th Cir. 2018); then James River Ins. Co. v. Rapid Funding, LLC, 658 F.3d 1207, 1217–18 (10th Cir.
 2011); then Garman v. Campbell Cnty. Sch. Dist. No. 1, 630 F.3d 977, 983 n.6 (10th Cir. 2010); and then Abbas v.
 Foreign Pol’y Grp., LLC, 783 F.3d 1328, 1336–37 (D.C. Cir. 2015))).
 45
      Marks v. U.S., 430 U.S. 188, 193 (1977) (citation omitted).
 46
      Shady Grove, 559 U.S. at 395–96 (plurality opinion); id. at 416 (Stevens, J., concurring).

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 effect of this part of the opinion has been recognized by courts around the country 47 and by the

 Tenth Circuit. 48 Justice Scalia’s opinion is helpful here because it forecloses any argument that

 Rule 23 does not directly conflict with a state law that limits or imposes additional requirements

 beyond those articulated in Rule 23. 49

            Indeed, Justice Scalia interpreted Rule 23 as creating “a categorical rule entitling a

 plaintiff whose suit meets the specified criteria to pursue his claim as a class action.” 50 He also

 clarified how Rule 23’s use of the word “may” in the phrase “[a] class action may be

 maintained” affords discretion to maintain a class action to the plaintiff, not the court. 51 Thus, a

 federal district court is required to entertain a class action once a plaintiff makes the required

 showings under 23(b), provided there is no Enabling Act violation, 52 and state statutes that

 impose heightened class action requirements or limit the claims eligible for class action




 47
   See, e.g., Arnstein, 2024 WL 4882857, at *4; Arnstein, 2025 WL 562543, at *3–5;.Roberts v. C.R. England, Inc.,
 321 F. Supp. 3d 1251, 1254 (D. Utah 2018) (citation omitted); Curry, 2023 WL 6318108, at *3; Lisk v. Lumber One
 Wood Preserving, LLC, 792 F.3d 1331, 1335 (11th Cir. 2015) (“But before turning to that question, it is important to
 note that Justice Stevens joined parts of Justice Scalia's opinion. Those parts, labeled sections I and II–A, thus were
 joined by five justices; those parts were the opinion of the Court. And those parts confirmed the analysis long
 followed in resolving conflicts between the Federal Rules of Civil Procedure and contrary provisions of state law.”);
 Abbas, 783 F.3d at 471 n.1.
 48
    See Stender, 958 F.3d at 943 (“There were three opinions. Four Justices dissented. Justice Scalia wrote an opinion
 joined in full by three Justices. Justice Stevens joined part of Justice Scalia's opinion (making that part a majority
 opinion) and wrote a separate concurring opinion. The majority opinion set forth the framework for resolving the
 issue: a Federal Rule governs over state law (1) when it ‘answer[s] the same question’ as the state law, and (2) it is
 not ‘ultra vires.’”).
 49
      Arnstein, 2025 WL 562543, at *3.
 50
      Shady Grove, 559 U.S.at 398 (majority opinion).
 51
      Id. at 400 (citing Fed. R. Civ. P. 23(b) and explaining how “[c]ourts do not maintain actions; litigants do”).
 52
    See id. (“Rule 23 automatically applies ‘in all civil actions and proceedings in the United States district courts.’”
 (citation omitted) (emphasis in original)).

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adjudication necessarily conflict with Rule 23. 53 Said differently, “Rule 23 provides a one-size-

fits-all formula for deciding the class action question.” 54

            Understanding this, this court previously recognized that under Rule 23(b), a plaintiff can

always maintain a class action once certain requirements are met, regardless of the claim, but

under § 203(3), a plaintiff is never allowed to bring a class action under NISNPIA. 55

Accordingly, the court concluded that § 203(3) and Rule 23 were in direct, unavoidable

conflict. 56

            Having found a direct conflict under Step One, the court recognized Rule 23 would

govern unless it violated the Enabling Act under Step Two. 57 Justice Stevens departed from the

majority’s holding in Shady Grove with respect to Step Two. His concurrence therefore controls

this part of the analysis in the Tenth Circuit. 58 Under this Step, a conflicting federal rule controls

unless it violates the Enabling Act by abridging, enlarging, or modifying a state-created right or

remedy. 59 Instead of joining the plurality and finding an Enabling Act violation based on the

form of the state law—i.e., whether it is traditionally substantive or procedural—Justice Stevens



53
  Id. at 401 (“[A] State cannot limit [Rule 23’s] permission by structuring one part of its statute to track Rule 23 and
enacting another part that imposes additional requirements.”).
54
     Id. at 399.
55
     See Arnstein, 2024 WL 4882857, at *4.
56
     Id. (citation omitted).
57
     See id.; Shady Grove, 559 U.S. at 421 (Stevens, J., concurring) (citing 28 U.S.C. § 2072(b)).
58
  Shady Grove, 559 U.S. at 411 (plurality opinion) (“The concurrence . . . departs from us only with respect to the
second part of the test, i.e., whether application of the Federal Rule violates § 2072(b) . . . .”); Marks v. United
States, 430 U.S. 188, 193 (1977) (“When a fragmented Court decides a case and no single rationale explaining the
result enjoys the assent of five Justices, the holding of the Court may be viewed as that position taken by those
Members who concurred in the judgments on the narrowest grounds.” (quotations omitted)); Curry, 2023 WL
6318108, at *3 (“The Stevens concurrence is controlling in the Tenth Circuit as to Shady Grove Step Two . . . .”
(citations omitted)); Garman v. Campbell Cnty. Sch. Dist. No. 1, 630 F.3d 977, 985 (10th Cir. 2010) (relying on the
Stevens concurrence to determine “whether the state law actually is part of a State’s framework of substantive rights
or remedies” (citation omitted)).
59
     Shady Grove, 559 U.S. at 431 (Stevens, J., concurring).

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directs federal courts to focus on whether the state rule “function[s] as a part of the [s]tate’s

definition of substantive rights and remedies.” 60 Thus, states may use “a traditionally procedural

vehicle as a means of defining the scope of substantive rights or remedies,” 61 and federal courts

must respect that choice. This situation is rare, however. Justice Stevens cautions “the bar for

finding an Enabling Act problem is a high one” 62 and there must be “little doubt” that application

of a federal rule would alter a state-created right or remedy. 63 Indeed, “few seemingly [state]

‘procedural’ rules define the scope of a substantive right or remedy.” 64 Examples of such state

procedural rules include those that “make it significantly more difficult to bring or to prove a

claim, thus serving to limit the scope of that claim” or “define the amount of recovery.” 65 Justice

Stevens also recognized that “legislative history” could be useful “to distinguish between

procedural rules adopted for some policy reason and seemingly procedural rules that are

intimately bound up in the scope of a substantive right or remedy.” 66 And only those state rules

that “define[] the dimensions of [a] claim itself” would present an Enabling Act problem. 67




60
     Id. at 416–17.
61
     Id. at 420.
62
     Id. at 432.
63
     Id. at 432.
64
     Id. at 428.
65
  Id. at 420 (emphasis added). Examples include requiring “plaintiffs to post bond before suing,” “state statute[s] of
limitations,” “state-imposed burdens of proof,” or “state procedure for examining jury verdicts as means of capping
the available remedy.” Id. at 420, 420 n.4 (citing Cohen v. Beneficial Indus. Loan Corp., 337 U.S. 541, 555 (1949),
Guar. Tr. Co. v. York, 326 U.S. 99 (1945), and Gasperini v. Ctr. for Hums.., Inc., 518 U.S. 415, 427 (1996)).
66
     Shady Grove, 559 U.S. at 433 (Stevens, J., concurring) (emphasis in original).
67
     Id. at 433–34.

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            Because Shady Grove counsels that the ability to join together as a class is “a

traditionally procedural question,” 68 it would be rare for a state’s class action bar to define the

scope of state substantive rights or remedies. 69 And this court previously concluded § 203(3) did

not implicate one of the rare situations indicating an Enabling Act violation. 70 Still, the court

recognized Utah’s act of cabining § 203(3) to apply only to claims brought under NISNPIA

made the determination of whether § 203(3) defined the scope of substantive rights or remedies a

closer call than the more universally applicable statute at issue in Shady Grove. 71 But the court

ultimately doubted whether § 203(3) was “so intertwined” with NISNPIA’s rights or remedies

that it “function[ed] to define the[ir] scope” or that it “define[d] the dimensions of [a NISNPIA]

claim itself.” 72 More specifically, the court found problematic that fact that §§ 203(1) and

203(2)—the provisions creating the NISNPIA’s rights, duties, and remedies—never referenced,

acknowledged, or incorporated the class action bar. 73 Indeed, other state rules found to control

over Rule 23 created the class action limitation within the very sentence or subsection that

created the corresponding right or remedy, which provided “much stronger evidence suggesting

the class action bar [was] actually bound up with a state right or remedy.” 74 Moreover, the court



68
   Id. at 429 (Stevens, J., concurring) (“[W]hether to join plaintiffs together as a class” is “a traditionally procedural
question.”); see also Dish Network L.L.C. v. Ray, 900 F.3d 1240, 1254 (10th Cir. 2018) (Tymkovich, C.J.,
concurring) (citing Epic Sys. Corp. v. Lewis, 584 U.S. 497, 511–13 (2018)); Deposit Guar. Nat. Bank v. Roper, 445
U.S. 326, 332 (1980) (“[T]he right of a litigant to employ Rule 23 is a procedural right only, ancillary to the
litigation of substantive claims.”).
69
  See Shady Grove, 559 U.S. at 432 (Stevens, J., concurring); see also Curry, 2023 WL 6318108, at *6 (explaining
how because “Rule 23 is merely a ‘species of joinder,’ . . . [t]he traditionally procedural class action form in a
particular statute must, then, be truly inseparable from the substantive rights and remedies before a Rule Enabling
Act problem arises.” (citing Shady Grove, 559 U.S. at 423)).
70
     Arnstein, 2024 WL 4882857, at *6 (citing Shady Grove, 559 U.S. at 420).
71
     Id. at *7.
72
     Id. at *7–8 (citing Shady Grove, 559 U.S.at 423, 433–34 (Stevens, J., concurring)).
73
     Id. at *7.
74
     Id. (gathering citations).

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could point to no legislative history that suggested § 203(3) “was adopted with the intent to

define the scope of NISNPIA's rights or remedies.” 75 Accordingly, and in light of the movant’s

heavy burden to show an Enabling Act violation, the court concluded Rule 23 controlled the

issue of whether a class action could proceed in federal court. 76

            III.       The Effect of Recent Amendments to NISNPIA on the Court’s Shady Grove
                       Analysis

            Here, Sundance presents no persuasive argument that the court should depart from its

prior holding with respect to Step One. Thus, by again finding there is a direct conflict between

the 2004 version of § 203(3) and Rule 23, Rule 23 governs unless it violates the Enabling Act

under Step Two. 77

            A preliminary issue raised by the parties is the extent to which the court may consider the

2025 amendments to NISNPIA given Plaintiffs initiated this suit in 2024.78 The parties dispute

whether Utah’s general bar against retroactive application of newly codified laws precludes

consideration of the amended statute 79 and whether applying the amended statute would violate

the Utah Constitution.80 But the court need not wade into those murky waters. The court

confines its analysis to weighing the amendment’s evidentiary impact on the Shady Grove

analysis on the 2004 version of NISNPIA, and it concludes Sundance has met its heavy burden

of demonstrating an Enabling Act violation if the court were to apply Rule 23 in this case. And




75
     Id. at *8.
76
     Id. at *8–9.
77
     See Shady Grove, 559 U.S. at 421 (Stevens, J., concurring) (citing 28 U.S.C. § 2072(b)).
78
     Class Action Complaint; Opposition at 9–23.
79
     See, e.g., Opposition at 10.
80
     See, e.g., id. at 21.

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because this results in a lack of subject matter jurisdiction, the court lacks the power to resolve

the retroactivity and constitutional challenges forwarded by the parties. 81

           Indeed, under Step Two of Shady Grove, the recent amendments to NISNPIA provide

strong evidence that applying Rule 23 to the present dispute would impermissibly abridge,

enlarge, and modify Utah’s definition of its rights and remedies in violation of the Enabling Act.

More specifically, the recent amendments to NISNPIA leave the court with “little doubt” that

NISNPIA’s class action bar is a “traditionally procedural vehicle” that Utah employs—and has

always employed—“as a means of defining the scope of [NISNPIA’s] substantive rights or

remedies.” 82 The amendments provide the court with two key pieces of evidence to support this

determination.

           First, the amended statutory text expressly indicates that, “since January 1, 2004,” the

Utah legislature has considered NISNPIA’s class action bar “a remedy provision and not merely

procedural. 83 As the Supreme Court has recognized, “[s]ubsequent legislation declaring the

intent of an earlier statute is entitled to great weight in statutory construction.” 84 Utah courts

similarly recognize that “[a]n amendment which, in effect, construes and clarifies a prior statute

will be accepted as the legislative declaration of the original act.” 85 This express statutory

language therefore provides strong evidence of the intent of the law as originally enacted in




81
  See U.S. Cath. Conf. v. Abortion Rts. Mobilization, Inc., 487 U.S. 72, 77 (1988) (recognizing how a challenge to
subject matter jurisdiction goes directly to a court’s “power to issue [an] order” in a case and recognizing that courts,
no less than the political branches of the government, must respect the limits of their authority”).
82
     Shady Grove, 559 U.S. at 420 (Stevens, J., concurring).
83
     S.B. 150.
84
     Red Lion Broad. Co. v. F.C.C., 395 U.S. 367, 380–81 (1969) (gathering citations).
85
   State v. Bryant, 965 P.2d 539, 546 (Utah. Ct. App. 1998) (quoting In re D.B., 925 P.2d 178, 182 n.5 (Utah Ct.
App. 1996)).

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2004. In the context of Shady Grove, it provides strong evidence that NISNPIA’s class action

bar has always operated to define the scope of NISNPIA’s remedy. 86

            Second, recent legislative history makes clear that the Utah legislature has always

deemed the class action bar substantive in nature and finds the pursuit of NISNPIA class actions

in federal court antithetical to that judgment. When introducing the bill to the Senate Judiciary,

Law Enforcement, and Criminal Justice Committee, Senator Kirk A. Cullimore explained that

NISNPIA had prohibited class actions since its enactment in 2003, but that this prohibition was

not being applied in federal courts as a result of subsequent legal developments, including Shady

Grove. 87 Senator Cullimore explained that this result was “not contemplated by the legislature”

and that the amendments were designed to clarify that the class action bar was substantive “as

opposed to what could be deemed a severable procedural right.” 88 The members voted 6-0 to

favorably recommend the bill. 89

            Later, Senator Cullimore presented a similar explanation before the House Judiciary

Committee. He began his remarks by noting that the bill “is not really changing Utah policy at

all . . . There’s always been a bar on a class action type lawsuit for this. That has been the policy

of Utah since 2003. So, over 20 years.” 90 The amendments, he explained, were designed to

ensure that NISNPIA’s class action bar would be “recognized as a substantive right, which [he]

believe[d] was the intent of the legislature all along.” 91 No member of the Committee voiced




86
     Shady Grove, 559 U.S. at 420 (Stevens, J., concurring).
87
     Dkt. 54-2, Exhibit B: Transcript of Utah Legislative Proceedings at 3:8–4:12.
88
     Id. at 4:6–12.
89
     Id. at 6:2–3.
90
     Id. at 9:21–10:9.
91
     Id. at 10:22–11:2.

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disagreement with the amendments or Senator Cullimore’s assessment. The House Judiciary

Committee voted unanimously to favorably recommended the bill. 92

            The bill received the same reception before the Senate and House floors. Addressing the

Senate, Senator Cullimore explained that the legislature had determined, twenty years ago, that

NISNPIA should not be brought through class actions. 93 He explained that this Amendment was

a reaction to legal developments post-dating the law’s enactment that had read the bar as

procedural and therefore inapplicable in federal court. 94 The Senate passed the bill 28-0. 95

            Finally, House sponsor Representative Anthony E. Loubet explained to the assembled

House that the legislature’s “current policy” held “since 2003” was to prohibit class action

lawsuits under NISNPIA. 96 Representative Loubet explained that subsequent developments had

opened Utah businesses to NISNPIA class actions in federal court based on an assessment that

the provision was procedural. 97 This bill, he explained, clarified that the class action bar was

substantive and “not procedural in nature.” 98 No representative questioned or disagreed with

Representative Loubet’s recitation. The House passed the bill 61-0. 99

            In each of these legislative sessions, the bill sponsors articulated a view that NISNPIA

was always designed to prohibit class actions, that the class action bar was integral to

NISNPIA’s rights and remedies, and that amendments were needed to preserve that legislative




92
     Id. at 13:23–24.
93
     Id. at 6:11–23.
94
     Id.
95
     Id. at 9:10–13.
96
     Id. at 14:13–17.
97
     Id. at 14:18–15:8.
98
     Id. at 15:4–8.
99
     Id. at 15:18–22.

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judgment in the face of subsequent judicial decisions, including Shady Grove. The legislature

expressed its unanimous approval of the amendments.

           Ultimately, the statements by the bill sponsors, the bill’s unanimous approval, and the

bill’s own text provide some of the clearest possible evidence that the Utah legislature has

always deemed the class action bar operates to define the scope of NISNPIA’s rights and

remedies. 100 Coupling all the above-cited evidence with the reservations this court had that the

class action bar is cabined to a single, non-procedural, state statutory section, the court concludes

that applying Rule 23 in in this case would impermissibly abridge, enlarge or modify Utah’s

substantive rights and remedies under the 2004 version of NISNPIA. 101 Accordingly,

NISNPIA’s class action bar prevents Plaintiffs from maintaining their class action in federal

court.

           As explained above, Plaintiffs’ only basis for federal jurisdiction is diversity jurisdiction

under CAFA. 102 But without the ability to proceed as a class, Plaintiffs’ individual claims are

limited to $500—well below the jurisdictional threshold required to maintain her diversity action

in federal court. Still, Plaintiffs point to the case of Freeport-McMoran, Inc. v. K N Energy, Inc.

for the proposition that “if jurisdiction exists at the time an action is commenced, such

jurisdiction may not be divested by subsequent events.” 103 While it is true “[s]ubject-matter

jurisdiction generally does not vanish once it properly attaches,” 104 federal courts “have an




100
      Shady Grove, 559 U.S. at 420 (Stevens, J., concurring).
101
      Arnstein, 2024 WL 4882857, at *7.
102
      Dkt. 12, First Amended Class Action Complaint ¶ 65.
103
      498 U.S. 426, 428 (1991) (citations omitted); Opposition at 8.
104
    Pittsburg Cnty. Rural Water Dist. No. 7 v. City of McAlester, 358 F.3d 694, 706 (10th Cir. 2004) (citation
omitted).

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ongoing duty to ensure that [their] jurisdiction is proper.” 105 And here, jurisdiction never

properly attached. As explained above, jurisdiction did not exist at the time Plaintiffs

commenced this action because the class action bar in the 2004 version of NISNPIA should have

always applied in federal courts. The court is aware of no authority suggesting it cannot

readdress prior jurisdictional decisions in the event new facts or authority come to light that

demonstrate “at the time the case was filed as a class action,” diversity jurisdiction did not

exist. 106 Indeed, even final judgments rendered by courts lacking jurisdiction can be void. 107

Thus, Plaintiffs’ argument that jurisdiction over their case somehow “vested” when their

Complaint was filed is unsupported and unpersuasive. 108

                                                 CONCLUSION

           For the foregoing reasons, Sundance’s Second Motion to Dismiss is GRANTED, 109 and

Sundance’s outstanding Motion to Stay is DENIED AS MOOT. 110 Plaintiffs’ Complaint is

DISMISSED for lack of subject matter jurisdiction. 111




105
   Id.; see also 1mage Software, Inc. v. Reynolds and Reynolds Co., 459 F.3d 1044, 1048 (10th Cir. 2006)
(explaining how federal courts have "'an independent obligation to determine whether subject-matter jurisdiction
exists, even in the absence of a challenge from any party,' and thus a court may sua sponte raise the question of
whether there is subject matter jurisdiction 'at any stage in the litigation.'" (citation omitted)).
106
      See Pontrelli v. MonaVie, Inc., No. 2:17-CV-01215-DN-DBP, 2019 WL 2436437, at *2 (D. Utah June 11, 2019).
107
      Burnham v. Superior Ct. of Cal., 495 U.S. 604, 608–09 (1990).
108
      Opposition at 8.
109
      Dkt. 54.
110
      Dkt. 55.
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   Dismissals for lack of jurisdiction are without prejudice. Brereton v. Bountiful City Corp., 434 F.3d 1213, 1218
(10th Cir. 2006).

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      SO ORDERED this 5th day of May 2025.

                                               BY THE COURT:



                                               ____________________________
                                               ROBERT J. SHELBY
                                               United States Chief District Judge




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                     IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF UTAH


 SHANNON ARNSTEIN, et al.,                    JUDGMENT IN A CIVIL CASE

       Plaintiffs,                            Case No. 2:24-cv-00344-RJS-DAO

 v.                                          Chief District Judge Robert J. Shelby

 SUNDANCE HOLDINGS GROUP, LLC,                Magistrate Judge Daphne A. Oberg

       Defendant.


      IT IS HEREBY ORDERED AND ADJUGED that judgment is entered in favor of

Defendant.

      SO ORDERED this 5th day of May 2025.

                                                  BY THE COURT:



                                                  ____________________________
                                                  ROBERT J. SHELBY
                                                  United States Chief District Judge




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                           UNITED STATES DISTRICT COURT
                                 DISTRICT OF UTAH

 SHANNON ARNSTEIN; DANA BASSETT;
 MARTIKA GARTMAN; SUELLEN HENDRIX; Case No. 2:24-cv-00344-RJS
 DEBRA         MACKLIN;         JEANINE   MARK;
 MICHELLE MEINHOLD; MARIE MICHELS; NOTICE OF APPEAL
 JILLI OYENQUE; BARBARA PORTER; and
 ELIZABETH WUEBKER, individually and on
 behalf of all others similarly situated,

                       Plaintiffs,
         v.

 SUNDANCE HOLDINGS GROUP, LLC,

                       Defendant.


        NOTICE IS HEREBY GIVEN that Plaintiffs appeal to the United States Court of

Appeals for the Tenth Circuit from the Order granting Defendant’s motion to dismiss Plaintiffs’

First Amended Complaint and Judgment (ECF Nos. 62-63) entered by the district court on May 5,

2025.

Dated: May 5, 2025                         Respectfully submitted,

                                           /s/ Frank S. Hedin
                                           FRANK S. HEDIN

                                           HEDIN LLP
                                           FRANK S. HEDIN (pro hac vice)
                                           ELLIOT O. JACKSON (pro hac vice)

                                           -and-

                                           PETERS ❘ SCOFIELD
                                           DAVID W. SCOFIELD

                                           Counsel for Plaintiffs and Putative Class




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Case
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                                  CERTIFICATE OF SERVICE

          I hereby certify that on May 5, 2025, I caused a true and correct copy of the forgoing to

be filed in this Court’s CM/ECF system, which sent notification of such filing to all counsel of

record.

                                                /s/ Frank S. Hedin
                                                Frank S. Hedin




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